EXHIBIT A

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 1 of 49 PagelD #: 3298
 

 

SETTLEMENT AGREEMENT.

This Settlement Agreement (“Agreement”) is entered into by and among the United
States of America, acting through the United States Department of Justice on behalf of the
Office of Inspector General of the United States Department of Health and Human Services
(OIG-HHS”), the TRICARE Management Activity (“TMA”), and the United States Office of
Personnel Management (“OPM”) (collectively the “United States”), Relators identified in the
cases listed in Paragraph B of the Preamble to this Agreement (“Relators”), and Pfizer Inc
(“Pfizer”), through their authorized representatives. Collectively, all of the above will be
referred to as “the Parties.”

PREAMBLE

As a preamble to this Agreement, the Parties agree to the following:

A, Pfizer is a Delaware corporation with its principal place of business in New York.
At all relevant times, Pfizer developed, manufactured, distributed, marketed and sold
pharmaceutical products in the United States, including drugs sold under the trade names of:
Bextra, Geodon, Zyvox, Lyrica, Aricept, Celebrex, Lipitor, Norvasc, Relpax, Viagra, Zithromax,
Zoloft, and Zyrtec (collectively the “Covered Drugs”).

B. The Relators listed herein have filed the following qui tam actions against Pfizer
(collectively the “Civil Actions”):

(1) United States et al. ex rel. Blair Collins v. Pfizer, Inc.,
Civ. No. 04-11780-DPW (D. Mass.);

(2) United States et al. ex rel. John Kopchinski v. Pfizer, Inc, et al.,
Civ, No. 05-CV-12115 (D. Mass.);

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 2 of 49 PagelD #: 3299
 

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United States ex rel. Dana Spencer v, Pfizer, Inc.,
Civ. No. 05-12326 (D. Mass.);

United States et al. ex rel. Glenn DeMott v. Pfizer,
Civ. No. 05-12040 (D. Mass.);

United States et al. ex rel, David Farber and Casey Schildhauer v.
Pfizer, Civ. No. 07-10304 (D. Mass.);

United States et al. ex rel. Ronald Rainero v. Pfizer,
Civ, No. 07-11728 (D. Mass.);

United States et al. ex rel, Mark Westlock y. Pfizer, Inc. etal.,
Civ. No. 08-11318 (D. Mass.);

 

United States ex rel, Robert A. Liter v, Pfizer,
Civ, No, 06-00176 (B.D. Ky.); and

United States ét al. ex rel. Stefan Kruszewski v. Pfizer, Inc.,
Civ, No, 07-4106 (E.D. Pa.).

C. On such date as may be determined by the Court, Pfizer subsidiary Pharmacia &

Upjohn Company, Inc. (“Pharmacia”) will enter a plea of guilty pursuant to Fed, R, Crim. P.

11(e)(1)(C) (the “Plea Agreement”) to an Information to be filed in United States of America v.

Pharmacia & Upjohn Company, Inc., Criminal Action No. [to be assigned] (District of

Massachusetts) (the “Criminal Action”) that will allege a violation of Title 21, United States

Code, Sections 331(a), and 333(a), namely, the introduction into interstate commerce of a

misbranded drug, Bextra, in violation of the Food, Drug and Cosmetic Act (“FDCA”).

D, Pfizer has entered into or will be entering into separate settlement agreements,

described in Paragraph 1(b) below (hereinafter referred to as the “Medicaid State Settlement

Agreements”) with certain states and the District of Columbia in settlement of the Covered

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 3 of 49 PagelD #: 3300
Conduct. States with which Pfizer executes a Medicaid State Settlement Agreement in the form
to which Pfizer and the National Association of Medicaid Fraud Control Units (“NAMFCU”)
Negotiating Team have agreed, or in a form otherwise agreed to by Pfizer and an individual
State, shall be defined as “Medicaid Participating States.”

E. The United States alleges that Pfizer caused to be submitted claims for payment
for the Covered Drugs to the Medicaid Program, Title XIX of the Social Secusity Act, 42 U.S.C,
§§ 1396-1396v. The United States further alleges that Pfizer caused claims for payment for the
Covered Drugs to be submitted to the TRICARE program, 10 U.S.C. §§ 1071-1109; the Federal
Employees Health Benefits Program (“FEHBP"), 5 U.S.C. §§ 8901-8914; the Federal Employees
Compensation Act Program, 5 U.S.C. § 8101, et seq: and caused purchases of the Covered Drugs
by the Department of Veterans’ Affairs (“DVA”) and the Bureau of Prisons (“BOP”)
(collectively, the “other Federal Health Care Programs”). The United States further alleges that
Pfizer caused certain claims for payment for certain of the Covered Drugs to be submitted to the
Medicare Program, Title XVII of the Social Security Act, 42 U.S.C. §§ 1395-1395hbh.

F. The United States contends that it and the Medicaid Participating States have
certain civil claims, as specified in Paragraph 2, below, against Pfizer for engaging in the
following conduct (hereinafter referred to as the “Covered Conduct”):

(1) Bextra: During the period February 1, 2002, through April 30,
2005, Pfizer: (a) illegally promoted the sale and use of Bextra for a
variety of conditions (including acute pain and various types of
surgical pain) and at dosages other than those for which its use was
approved by the Food and Drug Administration (“FDA”) (ie., “off-
label” uses), in violation of the FDCA, 21 U.S.C. § 331, et seq.,

and which were not medically-accepted indications as defined by
42 U.S.C. § 1396r-8(k)(6) for which the United States and state

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 4 of 49 PagelD #: 3301
Medicaid programs provided coverage for Bextra; (b) offered and
paid illegal remuneration to health care professionals to induce
them to promote and prescribe Bextra, in violation of the Federal
Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b); and (c) made
and/or disseminated unsubstantiated and/or false representations or
statements about the safety and efficacy of Bextra. As a result of
the foregoing conduct, Pfizer knowingly caused false or fraudulent
claims for Bextra to be submitted to, or caused purchases by,
Medicaid and the other Federal Health Care Programs.

(2) Geodon: During the period from January 1, 2001, through December 31,
2007, Pfizer: (a) illegally promoted the sale and use of Geodon for a
variety of off-label conditions (including depression, bipolar maintenance,
mood disorder, anxiety, aggression, dementia, attention deficit
hyperactivity disorder, obsessive compulsive disorder, autism and post-
traumatic stress disorder), and for patients (including pediatric and
adolescent patients) and dosages that were off-label, in violation of the
FDCA, 21 U.8.C, § 331, et seq., and which were not medically-accepted
indications as defined by 42 U.S.C. § 1396r-8(k)(6) for which the United

' States and state Medicaid programs provided coverage for Geodon; (b)
offered and paid illegal remuneration to health care professionals to
induce them to promote and prescribe Geodon, in violation of the Federal
Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b); and (c) made and/or
disseminated unsubstantiated and/or false representations or statements
about the safety and efficacy of Geodon. As a result of the foregoing
conduct, Pfizer knowingly caused false or fraudulent claims for Geodon to
be submitted to, or caused purchases by, Medicaid, Medicare and the other
Federal Health Care Programs.

(3) Zyvox: During the period January 1, 2001, through February 28, 2008,
Pfizer: (a) illegally promoted the sale.and use of Zyvox for a variety of
off-label conditions (including infections caused by methicillin-resistant
Staphylococcus aureus (“MRSA”) generally, rather than only those types
of MRSA infections for which Zyvox was FDA-approved), in violation of
the FDCA, 21 U.S.C. § 331, et seq, and which were not medically-
accepted indications as defined by 42 U.S.C. § 1396r-8(k)(6) for which
the United States and state Medicaid programs provided coverage for
Zyvox; (b) made and/or disseminated unsubstantiated and/or false
representations or statements about the safety and efficacy of Zyvox
(including that Zyvox was superior to vancomycin, its primary competitor
drug for these indications); and (c) offered and paid illegal remuneration
to health care professionals to induce them to promote and prescribe

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 5 of 49 PagelD #: 3302
Zyvox, in violation of the Federal Anti-Kickback Statute, 42 U.S.C. §
1320-7b(b), As a result of the foregoing conduct, Pfizer knowingly
caused false or fraudulent claims for Zyvox to be submitted to, or caused
purchases by, Medicaid, Medicare and the other Federal Health Care
Programs.

(4) Lyrica: During the period September 1, 2005, through October 31, 2008,
Pfizer: (a) illegally promoted the sale and use of Lyrica for a variety of
off-label conditions (including chronic pain, neuropathic pain,
perioperative pain, and migraine), in violation of the FDCA, 21 U.S.C. §
331, et seg., and which were not medically-accepted indications as defined
by 42 U.S.C, § 1396r-8()(6) for which the United States and state
Medicaid programs provided coverage for Lyrica; (b) made and/or
disseminated unsubstantiated and/or false representations or statements
about the safety-and efficacy of Lyrica, including claims that it was
superior to Neurontin and its generic equivalent, gabapentin; and (c)
offered and paid illegal remuneration to health care professionals to
induce them to promote and prescribe Lyrica, in violation of the Federal
Anti-Kickback Statute, 42 U.S.C, § 1320-7b(b). As a result of the
foregoing conduct, Pfizer knowingly caused false or fraudulent claims for
Lyrica to be submitted to, or caused purchases by, Medicaid, Medicare
and the other Federal Health Care Programs.

(5) Kickbacks; From January 2001, through December 2004, Pfizer paid
illegal remuneration for speaker programs, mentorships, preceptorships,
journal clubs, and gifts (including entertainment, cash, travel and meals)
to health care professionals to induce them to promote and prescribe the
drugs Aricept, Celebrex, Lipitor, Norvasc, Relpax, Viagra, Zithromax,
Zoloft, and Zyrtec, in violation of the Federal Anti-Kickback Statute, 42
U.S.C. § 1320a-7b(b). As a result of the foregoing conduct, Pfizer caused
false claims to be submitted to Medicaid and TRICARE,

G. The United States also contends that it has certain administrative claims against
Pfizer as specified in Paragraphs 4 through 6, below, for engaging in the Covered Conduct.

H. This Agreement is made in compromise of disputed claims, This Agreement is
not an admission of facts or liability by Pfizer, and Pfizer expressly denies the allegations of the

United States and the Relators as set forth herein and in the Civil Actions and denies that it

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 6 of 49 PagelD #: 3303
engaged in any wrongful conduct in connection with the Covered Conduct except as to: 1) such
admissions as Pharmacia makes in connection with any guilty plea and as provided herein; and
2) the facts set forth in Attachment A as to Zyvox. This Agreement is not a concession by the
United States thet its claims are not well-founded, Neither this Agreement, nor the performance
of any obligation arising under it, including any payment, nor the fact of settlement is intended
to be, or shall be understood as, an admission of liability or wrongdoing, or other expression
reflecting on the merits of the dispute by Pfizer, except as set forth in this Paragraph.

I To avoid the delay, expense, inconvenience and uncertainty of protracted
litigation of these claims, the Parties mutually desire to reach a final settlement as set forth
below.

TERMS AND CONDITIONS

NOW, THEREFORE, in reliance on the representations contained herein and in
consideration of the mutual promises, covenants, and obligations in this Agreement, and for good
and valuable consideration, receipt of which is hereby acknowledged, the Parties agree as follows:

l, Pfizer agrees to pay to the United States and the Medicaid Participating States,
collectively, the sum of one billion dollars ($1,000,000,000), plus (a) interest at the rate of 3.75%
per annum on $502,524,316 from May 15, 2008, and continuing until and including the day
before payment is made under this Agreement and, (b) interest at the rate of rate of 2.125% per
annum on the remaining $497,475,684 from January 23, 2009, and continuing until and
including the day before payment is made (collectively, the “Settlement Amount”). The

Settlement Amount shall constitute a debt immediately due and owing to the United States and

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 7 of 49 PagelD #: 3304
the Medicaid Participating States on the Effective Date of this Agreement. This debt shall be
discharged by payments to the United States and the Medicaid Participating States, under the
following terms and conditions:

(a) Pfizer shall pay to the United States the sum of $668,514,830 plus accrued
interest (“Federal Settlement Amount”), The Federal Settlement Amount shall consist of: (1)
$343,339,991, plus interest accrued on this amount at the rate of 3.75% per annum from May 15,
2008, continuing until and including the day before payment is made; and, (2) $325,174,839 plus
interest accrued on this amount at the rate of 2.125% per annum from January 23, 2009,
continuing until and including the day before payment is made. The Federal Settlement Amount
shall be paid by electronic funds transfer pursuant to written instructions from the United States
no later than seven (7) business days after (i) this Agreement is fully executed by the Parties and
delivered to Pfizer's attorneys; or (ii) the Court accepts a Fed. R, Crim. P. 11(c}(1}(C) guilty plea

as described in Preamble Paragraph C in connection with the Criminal Action and imposes the
agreed upon sentence, whichever occurs later.

(b) Pfizer shall pay to the Medicaid Participating States the sum of $331,485,170,
plus accrued interest (“Medicaid State Settlement Amount”). The Medicaid State Settlement
Amount shall consist of; (1) the sum of $159,184,326, plus interest accrued thereon at the rate
of 3.75% per annum from May 15, 2008, continuing until and including the day before payment
is made; and, (2) the remaining $172,300,844, plus interest accrued thereon from January 23,
2009, at the rate of 2.125% per annum until and including the day before payment is made, The

Medicaid State Settlement Amount shall be paid no later than seven (7) business days after (i)

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 8 of 49 PagelD #: 3305
this Agreement is fully executed by the Parties and delivered to Pfizer’s attorneys; or (ii) the
Court accepts a Fed. R. Crim. P. 11(c)(1)(C) guilty plea as described in Preamble Paragraph C in
connection with the Criminal Action and imposes the agreed upon sentence, whichever occurs
later. The Medicaid State Settlement Amount shall be paid by electronic funds transfer to an
interest bearing account pursuant to written instructions from the NAMFCU Negotiating Team
and under the terms and conditions of the Medicaid State Settlement Agreements that Pfizer will
enter into with the Medicaid Participating States.
(c) Contingent upon the United States receiving the Federal Settlement Amount from

Pfizer, the United States agrees to pay, as soon as feasible after receipt, the following Relators
the following amounts plus their proportionate share of the interest accrued on the Federal
Settlement Amount described in (a) above as Relators’ share of the proceeds pursuant to 31
U.S.C, §3730(d):

(1) John Kopchinski: $51,500,999

(2) Dana Spencer; $2,743,637

(3) Blair Collins: $2,354,582

(4) Glenn DeMott: $7,431,505

(5) Stefan Kruszewski: $29,013,420

(6) — Ronald Rainero: $9,321,369
No other relator payments shall be made by the United States with respect to the matters covered
by this Agreement. Ail Relators in the Civil Actions listed in Preamble Paragraph B, above,

represent that they will abide by the terms of any written and executed separate agreements that

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 9 of 49 PagelD #: 3306
they may have entered into with one or more of the other Relators concerning the allocation of
the Relators’ share among themselves.

(d) ‘If Pharmacia’s agreed-upon guilty plea pursuant to Fed. R. Crim. P. 11(c)(})(C) in
the Criminal Action described in Preamble Paragraph C is not accepted by the Court or the Court
does not impose the agreed-upon sentence for whatever reason, this Agreement shall be null and
void at the option of either the United States or Pfizer. If either the United States or Pfizer
exercises this option, which option shall be exercised by notifying all Parties, through counsel, in
writing within five (5) business days of the Court's decision, the Parties will not object and this
Agreement will be rescinded. If this Agreement is rescinded, Pfizer will not plead, argue or
otherwise raise any defenses under the theories of statute of limitations, laches, estoppel or
similar theories, to any civil or administrative claims, actions or proceedings arising from the
Covered Conduct that are brought by the United States within 90 calendar days of rescission,
except to the extent such defenses were available on the day on which the gui tam complaints
listed in Preamble Paragraph B, above, were filed.

2. Subject to the exceptions in Paragraph 7 below (concerning excluded claims), in
consideration of the obligations of Pfizer set forth in this Agreement, conditioned upon Pfizer's
payment in full of the Settlement Amount, the United States (on behalf of itself, its officers,
agencies, and departments) agrees to release Pfizer, its predecessors, and its current and former
divisions, parents, subsidiaries, successors and assigns and their current and former directors,
officers, and employees from any civil or administrative monetary claim that the United States

has or may have for the Covered Conduct under the False Claims Act, 31 U.S.C. §§ 3729-3733;

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 10 of 49 PageID #: 3307
the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812; the Civil Monetary Penalties
Law, 42 U.S.C. § 1320a-7a; any statutory provision creating a cause of action for civil damages
or civil penalties for which the Civil Division of the Department of Justice has actual and present
authority to assert and compromise pursuant to 28 C.F.R. Part O, Subpart L, 0.45(d) and common
law claims for fraud, payment by mistake, breach of contract, disgorgement and unjust
enrichment.

3. Subject to the exceptions in Paragraph 7 (concerning excluded claims), below, in
consideration of the obligations of Pfizer in this Agreement, conditioned upon Pfizer's full
payment of the Settlement Amount, Relators, for themselves and for their heirs, successors,
attorneys, agents, and assigns, agree to release Pfizer and its predecessors, and its current and
former divisions, parents, subsidiaries, successors and assigns and their current and former
directors, officers, and employees from any civil monetary claim the United States has or may
have under the False Claims Act, 31 U.S.C. §§ 3729-3733, for the Covered Conduct; provided,
however, that Relators do not release Pfizer for any claims under 31 U.S.C. §§ 3730(d) and (h),
nor from any other claims that Relators have or may have, whether asserted in their Civil
Actions or not asserted therein.

4. In consideration of the obligations of Pfizer set forth in this Agreement and the
Corporate Integrity Agreement (“CIA”) entered into between OIG-HHS and Pfizer, conditioned
upon Pfizer's full payment of the Settlement Amount, OIG-HHS agrees to release and refrain
from instituting, directing, or maintaining any administrative action seeking exclusion from the

Medicare, Medicaid and other Federal health care programs (as defined in 42 U.S.C. § 1320a-

10

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 11 of 49 PageID #: 3308
7b(£)) against Pfizer under 42 U.S.C, § 1320a-7a (Civil Monetary Penalties Law) or 42 U.S.C. §
1320a-7(b){7) (permissive exclusion for fraud, kickbacks, and other prohibited activities) for the
Covered Conduct, except as reserved in Paragraph 7 (concerning excluded claims), below, and
as reserved in this Paragraph, The OIG-HHS expressly reserves all rights to comply with any
statutory obligations to exclude Pfizer from the Medicare, Medicaid and other Federal health
care programs under 42 U.S.C. § 1320a-7(a) (mandatory exclusion) based upon the Covered
Conduct. Nothing in this Paragraph precludes the OIG-HHS from taking action against entities
or persons, or for conduct and practices, for which claims have been reserved in Paragraph 7,
below,

5. In consideration of the obligations of Pfizer set forth in this Agreement and,
conditioned upon Pfizer's payment in full of the Settlement Amount, TMA agrees to release and
refrain from instituting, directing, or maintaining any administrative action seeking exclusion
from the TRICARE Program against Pfizer, under 32 C.F.R. § 199.9 for the Covered Conduct,
except as reserved in Paragraph 7 below (concerning excluded claims), and as reserved in this
Paragraph. TMA expressly reserves authority to exclude Pfizer under 32 C.F.R. §§
199.9(£)(1)G)(A), (C1) G)(B), and (f)(1)Gii), based upon the Covered Conduct. Nothing in this
Paragraph precludes TMA or the TRICARE Program from taking action against entities or
persons, or for conduct and practices, for which claims have been reserved in Paragraph 7,
below.

6. In consideration of the obligations of Pfizer set forth in this Agreement and

conditioned upon Pfizer's full payment of the Settlement Amount, OPM agrees to release and

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 12 of 49 PagelD #: 3309
refrain from instituting, directing, or maintaining any administrative action against Pfizer under

5 U.S.C. § 8902a or 5 C.F.R, Part 970 for the Covered Conduct, except as reserved in Paragraph

7 below (concerning excluded claims), except if required by 5 U.S.C, § 8902a(b). Nothing in

this Paragraph precludes OPM from taking action against entities or persons, or for conduct and

practices, for which claims have been reserved in Paragraph 7 below.

7. Notwithstanding any term of this Agreement, specifically reserved and excluded

from the scope and terms of this Agreement as to any entity or person (including Pfizer and the

Relators) are the following claims of the United States:

(a)

(b)
(c)

(d)

(e)

(fp

Any civil, criminal, or administrative liability arising under Title 26, U.S.
Code (Internal Revenue Code);

Any criminal liability:

Except as explicitly stated in this Agreement, any administrative liability,
including mandatory exclusion from Federal health care programs;

Any liability to the United States (or its agencies) for any conduct other
than the Covered Conduct;

Any liability based upon such obligations as are created by this
Agreement;

Any liability for express or implied warranty claims or other claims for
defective or deficient products and services, including quality of goods

and services;

12

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 13 of 49 PagelD #: 3310
(g) Any liability for personal injury or property damage or for other
consequential damages arising from the Covered Conduct;

(h) Any liability for failure to deliver items or services due; or

(i) Any liability of individuals (including current or former directors, officers,
employees, or agents of Pfizer) who receive written notification that they
are the target of a criminal investigation, are criminally indicted or
charged, or are convicted, or who enter into a criminal plea agreement.

8. Each Relator, and his/her respective heirs, successors, attorneys, agents, and
assigns agree not to object to this Agreement and agree and confirm that this Agreement and the
allocation of amounts to their respective claims as set forth in Paragraph 12 are fair, adequate
and reasonable under all the circumstances, pursuant to 31 U.S.C, § 3730(c)(2)(B), and expressly
waive the opportunity for a hearing on any objection to this Agreement pursuant to 31 U.S.C. §
3730(c}(2)(B). Conditioned upon payment by the United States of the amounts set forth in
Paragraph 1(c), above, Relators for themselves individually, and for their heirs, successors,
agents, and assigns, fully and finally release, waive, and forever discharge the United States, its
officers, agents, and employees, from any claims arising from or related to 31 U.S.C. § 3730 for
any claims arising from the Covered Conduct and/or for any claims in the Civil Actions; and
from any other claims for a share of the Settlement Amount, and in full settlement of any claims
Relators may have against the United States under this Agreement. This Agreement does not

resolve or in any manner affect any claims the United States has or may have against the

13

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 14 of 49 PagelD #: 3311
Relators arising under Title 26, U.S. Code (Internal Revenue Code), or any claims arising under
this Agreement.

9, Conditioned upon the United States’ receipt of the payments described in
Paragraph 1 (a), above, Relators, for themselves, and for their respective heirs, successors,
attorneys, agents, and assigns, agree to release Pfizer, its predecessors, subsidiaries, successors
and assigns and its current and former directors, officers, agents, and employees, from any
liability to Relators arising from the allegations in Relators’ Civil Actions that are being resolved
pursuant to this Agreement by payment by Pfizer of the Federal Settlement Amount for the
Covered Conduct. Relators’ release of Pfizer does not extend to allegations in their Civil
Actions that are not within the Covered Conduct, including Relators’ claims for reasonable
attorneys’ fees, expenses and costs pursuant to 31 U.S.C. § 3730(d), Relators’ claims under 31
ULS.C. § 3730(h), Relators claims for a Relator’s Share under the Medicaid State Settlement
Agreements, nor to any other claims Relators may have or had against Pifzer that are not
expressly resolved herein.

10.“ Pfizer waives and shall not assert any defenses it may have to any criminal
prosecution or administrative action relating to the Covered Conduct that may be based in whole
or in part on a contention that under the Double Jeopardy Clause in the Fifth Amendment of the
Constitution, or under the Excessive Fines Clause in the Eighth Amendment of the Constitution,
this Agreement bars a remedy sought in such criminal prosecution or administrative action,

Nothing in this paragraph or any other provision of this Agreement constitutes an agreement by

14

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 15 of 49 PageID #: 3312
the United States concerning the characterization of the Settlement Amount for purposes of the
Internal Revenue laws, Title 26 of the United States Code.

11. Pfizer fully and finally releases the United States, its agencies, employees,
servants, and agents from any claims (including attomeys' fees, costs, and expenses of every
kind and however denominated) which Pfizer has asserted, could have asserted, or may assert in
the future against the United States, its agencies, employees, servants, and agents, related to the
Covered Conduct or arising from the United States’ investigation and prosecution of the Civil
Actions and the Criminal Action.

12. Should this Agreement be challenged by any person as not fair, adequate or
reasonable pursuant to 31 U.S.C. § 3730(c)(2)(B), Pfizer agrees that it will take all reasonable
and necessary steps to defend this Agreement, Pfizer and the United States agree that the
following allocetion of the Settlement Amount to the Covered Conduct identified in Preamble
Paragraph (F) is fair, adequate and reasonable under the circumstances:

(1) For the Covered Conduct referenced in Preamble paragraph F(1)
regarding Bextra: $502,524,316;

(2) For the Covered Conduct referenced in Preamble paragraph F(2)
regarding Geodon: $301,462,065;

(3) For the Covered Conduct referenced in Preamble paragraph F(3)
regarding Zyvox: $97,945,019;

(4) For the Covered Conduct referenced in Preamble paragraph F(4)
regarding Lyrica: $48,223,886

(5) For the Covered Conduct referenced in Preamble patagraph F(5)
regarding other specified kickbacks: $49,844,714.

15

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 16 of 49 PageID #: 3313
13, In consideration of the obligations of the Relators set forth in this Agreement,
Pfizer, on behalf of itself, its predecessors, and its current and former divisions, parents,
subsidiaries, agents, successors, assigns, and their current and former directors, officers and
employees, fully and finally release, waive, and forever discharge the Relators and their
respective heirs, successors, assigns, agents, and attomeys from any claims or allegations Pfizer
has asserted or could have asserted, arising from the Covered Conduct, except as they relate to a
statutory claim by Relators for reasonable attorneys’ fees and costs pursuant to 31 U.S.C. §
3730(d) and as to any claims Relators may have under 31 U.S.C. § 3730(h).

14, The Settlement Amount shall not be decreased as a result of the denial of claims
for payment now being withheld from payment by any Medicare carrier or intermediary or any
state payer, related to the Covered Conduct; and Pfizer agrees not to resubmit to any Medicare
carrier or intermediary or any state payer any previously denied claims related to the Covered
Conduct, and agrees not to appeal any such denials of claims.

15. Pfizer agrees to the following: .
(a) Unallowable Costs Defined: that all costs (as defined in the Federal
Acquisition Regulations (FAR) 48 C.F.R, § 31.205-47 and in Titles XVIM and XIX of the Social
Security Act, 42 U.S.C. §§ 1395-1395gge and 1396-1396v, and the regulations and official
program directives promulgated thereunder) incurred by or on behalf of Pfizer, its present or
former officers, directors, employees, shareholders, and agents in connection with the following
shall be “Unallowable Costs” on government contracts and under the Medicare Program,

Medicaid Program, TRICARE Program, and FEHBP:

16

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 17 of 49 PagelD #: 3314
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the matters covered by this Agreement and the related plea agreement;

the United States' audit and civil and criminal investigation of the matters

covered by this Agreement;

Pfizer's investigation, defense, and any corrective actions undertaken in

response to the United States' audit and civil and criminal investigation in

connection with the matters covered by this Agreement (including

attorneys’ fees);

the negotiation and performance of this Agreement, the plea agreement,

and the Medicaid State Settlement Agreements;

the payments Pfizer makes to the United States or any State pursuant to

this Agreement, the plea agreement, or the Medicaid State Settlement

Agreements and any payments that Pfizer may make to Relators

(including costs and attorneys’ fees);

the negotiation of, and the obligations undertaken pursuant to the CIA to:

(i) retain an independent review organization and outside reviewer to
perform annual teviews as described in Section II] of the CIA; and

(ii) prepare and submit reports to the OIG-HHS, However, nothing in
this paragraph 15(a)(6) that may apply to the obligations
undertaken pursuant to the CIA affects the status of costs that are

not allowable based on any other authority applicable to Pfizer.

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 18 of 49 PageID #: 3315
(All costs described or set forth in this paragraph 15(a) are
hereafter “Unallowable Costs”)

(b) Future Treatment of Unallowable Costs: These Unallowable Costs shall
be separately determined and accounted for by Pfizer, and Pfizer shall not charge such
Unallowable Costs directly or indirectly to any contracts with the United States or any State
Medicaid Program, or seek payment for such Unallowable Costs through any cost report, cost
statement, information statement, or payment request submitted by Pfizer or any of its
subsidiaries or affiliates to the Medicare, Medicaid, TRICARE, or FEHBP Programs.

(c} Treatment of Unallowable Costs Previously Submitted for Payment:
Pfizer further agrees that within 90 days of the Effective Date of this Agreement, it shall identify
to-applicable Medicare and TRICARE fiscal intermediaries, carriers, and/or contractors, and
Medicaid, and FEHBP fiscal agents, any Unallowable Costs (as defined in this Paragraph)
included in payments previously sought from the United States, or any State Medicaid Program,
including, but not limited to, payments sought in any cost reports, cost statements, information
reports, or payment requests already submitted by Pfizer or any of its subsidiaries or affiliates,
and shall request, and agree, that such cost reports, cost statements, information reports, or
payment requests, even if already settled, be adjusted to account for the effect of the inclusion of
the Unallowable Costs. Pfizer agrees that the United States, at a minimum, shall be entitled to
recoup from Pfizer any overpayment plus applicable interest and penalties as a result of the
inclusion of such Unallowable Costs on previously-submitted cost reports, information reports,

cost statements, or requests for payment.

18

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 19 of 49 PageID #: 3316
Any payments due after the adjustments have been made shall be paid to the
United States pursuant to the direction of the Department of Justice, and/or the affected agencies.
The United States reserves its rights to disagree with any calculations submitted by Pfizer or any
of its subsidiaries or affiliates on the effect of inclusion of Unallowable Costs (as defined in this
Paragraph) on Pfizer's or any of its subsidiaries’ or affiliates’ cost reports, cost statements, or
information reports,

(d) . Nothing in this Agreement shall constitute a waiver of the rights of the
United States to examine or reexamine Pfizer's books and records to determine that no
Unallowable Costs have been claimed in accordance with the provisions of this Paragraph.

' 16. Pfizer aprees to cooperate fully and truthfully with the United States’ .
investigation relating to the Covered Conduct of individuals and entities not released in this
Agreement, Upon reasonable notice, Pfizer shall encourage, and agrees not to impair, the
cooperation of its directors, officers, and employees, and shall use its best efforts to make
available, and encourage the cooperation of former directors, officers, and employees for
interviews and testimony, consistent with the rights and privileges of such individuals. Pfizer
agrees to furnish to the United States, upon request, complete and unredacted copies of all non-
privileged documents and records in its possession, custody, or control concerning any
investigation of the Covered Conduct that it has undertaken, or that has been performed by its

counsel or other agent,

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 20 of 49 PageID #: 3317
17. This Agreement is intended to be for the benefit of the Parties only. The Parties
do not release any claims against any other person or entity, except to the extent provided for in
Paragraph 18 below (waiver for beneficiaries paragraph).

18. Pfizer agrees that it waives and shall not seek payment for any of the health care
billings covered by this Agreement from any health care beneficiaries or their parents, sponsors,
legally responsible individuals, or third party payors based upon the claims defined as Covered
‘Conduct.

19, Pfizer expressly warrants that it has reviewed its financial situation and that it is
currently solvent within the meaning of 11 U.S.C. §§ 547(b)(3) and $48(a)(1)(B)Gi)(D, and will
remain solvent following payment of the Settlement Amount, Further, the Parties warrant that,
in evaluating whether to execute this Agreement, they (a) have intended that the mutual
promises, covenants and obligations set forth herein constitute a contemporaneous exchange for
new value given to Pfizer, within the meaning of 11 U.S.C. § 547(c)(1); and (b) conclude that
these mutual promises, covenants and obligations do, in fact, constitute such a contemporaneous
exchange. Further, the Parties warrant that the mutual promises, covenants, and obligations set
forth herein are intended to and do, in fact, represent a reasonably equivalent exchange of value
that is not intended to hinder, delay, or defraud any entity to which Pfizer was or became
indebted to on or after the date of this transfer, within the meaning of 11 U.S.C, § 548(a)(1).

20. On the Effective Date of this Agreement or any date thereafter:

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 21 of 49 PageID #: 3318
(a} The United States shall intervene in the Civil Actions as to the Covered Conduct
and decline or consent to the voluntary dismissal as to all other defendants and all other
allegations set forth in the Civil Actions.

(b) Following payment of the Settlement Amount, the Parties shall file a stipulation
of dismissal in each of the Civil Actions as follows:

{i} each stipulation of dismissal shall be with prejudice as to the United
States’ and Relators’ claims as to Pfizer as to the Covered Conduct in each Civil Action pursuant
to and consistent with the terms and conditions of this Agreement;

(2) each stipulation of dismissal shall be without prejudice as to the United
States and with prejudice as to Relators as to all other entities and individuals and.as to all other
claims, or without prejudice to Relators if agreed to by Relators and Pfizer in any separate
written agreement(s) entered into by Relators and Pfizer;

(3) provided, however, that the following claims against Pfizer shall not be
dismissed, unless they are settled, adjudicated, or otherwise resolved, and any required consent
by the United States is obtained, and the Court is so informed: (a) all claims against Pfizer
reserved by any Relator for claims not resolved herein, including for allegations in their Civil
Actions that are not within the Covered Conduct; (b) Relators’ claims for reasonable attorneys’
fees, expenses, and costs pursuant to 31 U.S.C. § 3730(d); (c) Relators’ claims under § 3730(h);
(d) Relators’ claims for a Relator’s Share under the Medicaid State Settlement Agreements; and
(¢) any other claims Relators may have or had against Pfizer that are not expressly resolved

herein,

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 22 of 49 PagelD #: 3319
21.‘ Except as provided in Paragraph 20, each party shail bear its own legal and other
costs incurred in connection with this matter, including the preparation and performance of this
Agreement, except Relators reserve their rights against Pfizer to seek attorneys’ fees, costs and
expenses under § 3730(d).

22, The Parties each represent that this Agreement is freely and voluntarily entered
into without any degree of duress or compuision whatsoever,

23. This Agreement is governed by the laws of the United States. The Parties agree
that the exclusive jurisdiction and venue for any dispute arising between and among the Parties
under this Agreement, including any dispute regarding payment of Relator's attorneys’ fees,
expenses and costs, shall be the district court in which the Civil Action was pending on the
Effective Date of this Agreement, except as otherwise agreed by the parties to the dispute, and
except that any disputes arising under the CIA shall be resolved exclusively through the dispute
resolution provisions set forth in the CIA.

24, For purposes of construction, this Agreement shall be deemed to have been
drafted by all Parties to this Agreement and shall not, therefore, be construed against any party
for that reason in any dispute,

25, This Agreement constitutes the complete agreement between the Parties with
respect to the issues covered by the Agreement. This Agreement may not be amended except by
written consent of all the Parties.

26. The individuals signing this Agreement on behalf of Pfizer represent and warrant

that they are authorized by Pfizer to execute this Agreement. The individuals signing this

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 23 of 49 PagelID #: 3320
Agreement on behalf of each Relator represent and warrant that they are authorized by that
Relator to execute this Agreement. The United States’ signatories represent that they are signing
this Agreement in their official capacities and they are authorized to execute this Agreement.

27, This Agreement may be executed in counterparts, each of which constitutes an
original and all of which shall constitute one and the same Agreement.

28. This Agreement is binding on Pfizer's successors, transferees, heirs and assigns,

29, This Agreement is binding on Relators’ successors, transferees, heirs, attorneys

and assigns.

30. All parties consent to the disclosure of this Agreement, and information about this
Agreement, to the public after it has been finally executed.

31. This Agreement is effective on the date of signature of the last signatory to the
Agreement (Effective Date of this Agreement). Facsimiles of signatures shall constitute

acceptable, binding signatures for purposes of this Agreement.

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 24. of 49 PagelD #: 3321
UNITED STATES OF AMERICA

MICHAEL K. LOUCKS
Acting United States Attorney

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SUSAN M. POSWISTILO
ZACHARY A. CUNHA
Assistant United States Attorneys
District of Massachusetts

 

 

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 25 of 49 PagelD #: 3322
 

By:

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MICHAEL L. LEVY
United States.Attorney

United States Attorney's Office
Eastern District of Pennsylvania

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Aivil Division
United States Attorney’s Office

  
   

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MARILYNMAY 97 *
Assistant U.S, Attomey
United States Attorney’s Office
Eastern District of Pennsylvania

 

 

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Eastern District of Pennsylvania

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Page 26 of 49 PagelD #. 3323
JAMES A. ZERHUSEN
United States Attorney

By: Lobia Wane Dated: 3/ 2R } 09
ROBIN GWINN i '
CHERYL MORGAN

Assistant United States Attomeys
Bastern District of Kentucky

 

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 27 of 49 PagelD #: 3324
TONY WEST
Assistant Attorney General

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By: Que, . Math ~ Dated: 3/31 leoe 7
JOYCHR/BRANDA
Director
JAMIE ANN YAVELBERG
SANJAY BHAMBHANI
PATRICIA L, HANOWER
COLIN M. HUNTLEY
Trial Attorneys
Civil Division
United States Department of Justice

 

 

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 28 of 49 PagelD #: 3325
 

Dated: sfoifor

By:

 

GREGORY E, DEMSKE

Assistant Inspector General for Legal Affairs
Office of Counsel to the Inspector General
Office of Inspector Genera!

U.S. Department of Health and Human Services

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 29 of 49 PagelID #: 3326 .
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By: fib (Acting Repaty Genel Cusnsel) Dated: 2 B. Aus 2009

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Deputy General Counsel
TRICARE Management Activity
United States Department of Defense

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 30 of 49 PageID #: 3327
 

 

 

 

 

 

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- Pfizer the

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BRIEN.O'CONNOR | C

JOSHUA LEVY
- Ropes & Gray LLP
Counsel to Pfizer Inc and Pharmacia & Upjohn Company, Inc,

 

 

 

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 32 of 49 PagelD #: 3329
 

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RELATOR DANA SPENCER _

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WILLIAM V. HOYLE, Jr. ’
The Law Offices of William V. Hoyle, Jr., PC
Counsel to Relator Dana Spencer

 

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 34 of 49 PagelD #: 3331
 

RELATOR BLATR. COLLINS

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BLAIR COLLINS

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By: olson Peericers- Lx Dated:__ 8/29 /04

SUZANNE EB. DURRELL
Durrell Lew Office

ROBERT M. THOMAS, JR
ROYSTON BH, DELANEY.
Thomas & Associates

Counsel to Relator Blair Collins

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 35 of 49 PageID #: 3332
 

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RELATOR GLENN DEMOTT

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ANN LUGBILL
Murphy Anderson PLLC
Counsel to Relator Glenn DeMott

By:

 

JOHN €. KAIRIS
Graat & Bisenhofer, PA
Counsel to Relator Glean DeMott

 

REUBEN GUTTMAN
Grant & Fisenhofer, PA
Counsel to Relator Glenn DeMott

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RELATOR GLENN DEMOTT

By: Dated:
GLENN DEMOTT

By: (mn lpg hl, CM 4) Dated: ?

ANN LUGBILL *
Murphy Anderson PLLC
Counsel to Relator Glenn DeMott

By: Dated:
JOHN C. KAIRIS
Grant & Eisenhofer, PA
Counsel to Relator Glenn DeMott

By: Dated:
REUBEN GUTTMAN
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Counsel to Relator Glenn DeMott

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~ Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 37 of 49 PagelD #: 3334
RELATOR GLENN DEMOTT

 

 

 

 

By: Dated:
GLENN DEMOTT

By: Dated:
ANN LUGBILL
Murphy Anderson PLLC

Counsel to Relator Glenn DeMott

 

By. _J&a /eatats tay) Dated: P42 ¢/ 220i
JOHN C. KAIRIS
Grant & Eisenhofer, PA
Counsel to Relator Glenn DeMott

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UBEN GUTTMAN

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Counsel to Relator Glenn DeMott

 

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 38 of 49 PageID #: 3335
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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 39 of 49 PagelD #: 3336."
 

. RELATOR CASEY SCHILDHAUVER

 

 

 

 

 

 

By: Dated:
CASEY SCHILDHAUER
RELATOR DAVID FARBER

By: Dated:
DAVID FARBER

By: We Sow Dated: 2/ee/205
W. SGOTT R | ,
Biank LP ,

Counsel to Relators Casey Schildhaver and David Farber

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 40 of 49 PagelD #: 3337
 

 

 

 

 

 

 

 
 

RELATOR CASEY SCHILDHAUER

Dated: 3/28 [2004

By:

 

RELATOR DAVID FARBER

 

 

 

 

By, Dated:
DAVID FARBER

By: Dated;
W. SCOTT SIMMER
Blank Rome LLP

Counsel to Relators Casey Schildhauer and David Farber

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 42 of 49 PageID #: 3339
STEFAN KRYSZE

By: ce Dated: Hila OO
BRIAN KENNEY ‘ —

M. TAVY DEMING
Kenney Egan McCafferty & Young
Counsel to Relator Siefan Kruszewski

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 43 of 49 PagelD #: 3340
RELATOR MARK WESTLOCK

 

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MARK WESTLOCK

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Blanka LLP |

Counsel to Relator Mark Westlock

 

 

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 44 of 49 PagelD #: 3341
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RELATOR MARK WESTLOCK

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MARK WESTLOCK

By ee Dated:
W. SCOTT SIMMER
Blank Rome LLP
Counsel to Relator Mark Westlock

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 45 of 49 PageID #: 3342
   
 

RELATOR RONALD eh
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By:

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By: Dated:
JAMES PEPPER
Shetler, PC
Counsel to Relator Ronald Rainero

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RELATOR RONALD RAJNERO

 

 

 

 

 

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RONALD RANEIRO |

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JAMES PEPPER! —y
Shelter, PC

Counsel to Relator Ronald Rainero

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 47 of 49 PagelD #: 3344
ATTACHMENT A

This statement reflects facts as to which Pfizer and the United States agree are true and
accurate, It does not contain all of the United States' factually-based contentions regarding
Pfizer's marketing of Zyvox, nor does it contain all of Pfizer's responses to those allegations:

1, Zyvox (linezolid) is an antibacterial agent that is approved by the FDA to treat
certain types of infections including, among other approved indications,
nosocomial pneumonia caused by methicillin-resistant Staphylococcus aureus
("MRSA") and complicated skin and skin structure infections (“CSSSIs") due to
MRSA.

2. Although Zyvox is approyed to treat these indications, it has not been
demonstrated by substantial evidence to be superior to the ptimary competitor
drug for those indications: vancomycin, an antibiotic that has been on the market
for nearly fifty years,

3. On July 20; 2005, the FDA sent Pfizer a Warning Letter (“Warning Letter’)
regarding a journal advertisement for Zyvox. In this Warning Letter, the FDA
stated that Pfizer's advertisement misbranded Zyvox by making misleading and
unsubstantiated implied superiority claims, claims that broadened the indications
of Zyvox, and omitted important safety information,

4, The FDA stated in the Warning Letter that the journal advertisement implied that
' Zyvox is superior to vancomycin for the treatment of nosocomial pneumonia

caused by MRSA. Specifically, the FDA Warning Letter objected to the
advertisement’s use of certain retrospective analyses of head-to-head clinical
trials of linezolid and vancomycin. The FDA stated that these analyses were not
ptospectively designed or sufficiently powered to demonstrate statistically .
significant differences in treatment groups. Thus, the FDA stated that the
superiority of Zyvox for the treatment of nosocomial pneumonia caused by
MRSA had not been demonstrated by substantial evidence and that the
advertisement was therefore misleading.

5. The FDA stated that Pfizer’s advertisement misbranded Zyvox in violation of 21
U.S.C. 352(n) & 321(n) and FDA implementing regulations and requested that
Pfizer cease dissemination of the journal advertisement and other promotional
materials containing similar statements.

6. After receiving the Warning Letter, Pfizer responded to the FDA, taking the
position that it did not believe that the journal advertisement made an improper
superiority claim. However, Pfizer informed the FDA that, in response to the
FDA’s concerns, Pfizer would cease use of the journal advertisement in question.
Further, Pfizer informed the FDA that all other Zyvox promotional materials had
been reviewed to identify other items that could raise similar concerns, and that
steps had been taken to discontinue or appropriately revise any promotional
materials that could potentially be misinterpreted in a similar manner. Pfizer also

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Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 48 of 49 PageID #: 3345
informed the FDA that it was instructing its sales force that materials containing
information that the FDA stated constituted an implied superiority claim could no
longer be used. Pfizer also advised its sales force to discontinue using certain
identified promotional materials and that sales representatives would be provided
with replacement pieces, |

7. In addition, at the FDA's request, Pfizer agreed to publish a corrective
advertisement in February 2006, which was entitled "IMPORTANT
CORRECTION OF DRUG INFORMATION ZYVOX." In this corrective
advertisement, Pfizer noted that the FDA had objected to the presentation, in its
previous advertisement, of clinical data that showed a more favorable comparison
of Zyvox to vancomycin than was shown in the data included in the the Zyvox
label, which states that 57% of Zyvox patients and 60% of vancomycin patients in
the clinically evaluable population were cured of MRSA. Further, the label
reflects that 59% (13/22) of Zyvox patients and 70% (7/10) of vancomycin
patients with microbiologically-confirmed MRSA at baseline were clinically
cured,

8. Despite notifying its sales force that it should cease using promotional materials
that raised concerns of the type identified in the FDA Warning Letter, Pfizer did
not provide adequate guidance to its sales force regarding what statements were
permissible concerning data from head-to-head trials and retrospective analyses
and what promotional! statements were not permitted.

9, As a result, Pfizer's sales personnel thereafter continued to make claims to
physicians that Zyvox was superior to vancomycin for certain patients with
MRSA, which included the claim that Zyvox would have a higher cure rate, and
would save more lives, despite the fact that these-claims were inconsistent with
the FDA's Warning Letter and Zyvox's FDA approved label, and which were
inconsistent with the manner in which Pfizer, after the receipt of the Warning
Letter, agreed to present the clinical data cited by the FDA.

10. Moreover, certain Pfizer sales managers, including a regional manager and a
headquarters-based vice president, were aware of and, in certain cases,
encouraged a sales message that Zyvox was superior to vancomycin for certain
patients, despite their knowledge of the FDA Warning Letter and the issues it
raised,

Case 3:05-cv-00444 Document 158-1 Filed 04/27/10 Page 49 of 49 PagelD #: 3346
